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                    EXHIBIT 2
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 CRYSTAL BROWN, et al., on Behalf of                         )
 Themselves and a class of Similarly Situated                )
 Persons,                                                    )
                                                             )
                       Plaintiffs,                           )      Case No. 17-cv-8085
                                                             )
 COOK COUNTY; AMY CAMPANELLI, in                             )      Judge Matthew Kennelly
 her official capacity as Public Defender of Cook            )
 County; and THOMAS DART, in his official                    )
 capacity as Sheriff of Cook County,                         )
                                                             )
                       Defendants.                           )

             SETTLEMENT ADMINISTRATOR’S SUPPLEMENTAL DECLARATION

I, Eric Schachter, declare as follows:

        1.      I am a Vice President of A.B. Data, Ltd.’s Class Action Administration Division

(“A.B. Data”), whose corporate office is located in Milwaukee, Wisconsin.

        2.      I submit this Declaration as a supplement to the Settlement Administrator’s Declaration

submitted to the Court on September 16, 2020 (the “Administrator Declaration”), which I fully incorporate

herein. I have personal knowledge of the facts set forth herein and, if called as a witness, could and would

testify competently thereto.

        3.      As detailed in Paragraph 9 of the Administrator Declaration, Class Counsel and A.B. Data

undertook additional research efforts to identify Settlement Class Members who did not submit a Claim

Form and potentially had conflicting contact information. As a result of these efforts, we identified 20 such

Settlement Class Members for whom updated or corrected mailing information was available.

        4.      On October 2, 2020, A.B. Data caused the Class Notice and Claim Form (the “Notice

Packet”) to be mailed to these 20 Settlement Class Members using updated contact information. The Notice

Packet included a cover letter which informed these Settlement Class Members that in order to be eligible




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to recover a monetary benefit from the Settlement, the Claim Form must be completed and submitted by

mail or online to the Settlement Administrator by October 14, 2020.

        5.      As of the date of this declaration, a total of four additional Claim Forms have been

submitted. AB Data has updated the detailed output from our claims database which includes three of the

newly submitted claims. A fourth claim form was received today, and AB Data will score this claim, as

well as any other claims received as a result of Class Counsel’s outreach and update the allocations

promptly.

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true

and correct.

        Executed this 19th day of October 2020.



                                                                              Eric Schachter




                                                     2
